     Case 4:23-cr-00218   Document 40    Filed on 11/27/23 in TXSD    Page 1 of 1

                     UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                           HOUSTON DIVISION

UNITED STATES OF AMERICA

v.                                               Case Number: 4:23−cr−00218

Hardik Jayantilal Patel



                               NOTICE OF RESETTING

A proceeding has been set in this case as to Hardik Jayantilal Patel as set forth
below.

Before the Honorable Andrew S Hanen
PLACE:
Courtroom 9D
United States District Court
515 Rusk Street
Houston, TX 77002


DATE: 12/1/2023
TIME: 08:30 AM
TYPE OF PROCEEDING: Re−Arraignment Hearing


Date: November 27, 2023                                       Nathan Ochsner, Clerk
